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PROB 3 5                                                               Report and Order Terminating Probation /
(Rev . 5/01)                                                                                 Supervised Releas e
                                                                               Prior to Original Expir ation Dat e


                                  UNITED STATES DISTRICT COURT
                                            FOR TH E
                                  SOUTHERN DISTRICT OF GEORGIA
                                       BRUNSWICK DIVISION

UNITED STATES OF AMERIC A


                      V.          Crim. No. 298-00032-005

Timothy Hick s


          On May 1, 2002, the above-named was placed on supervised release for a period of five years .
He has complied with the rules and regulations of supervised release and is no longer in need of
supervision. It is accordingly recommended that Timothy Hicks be discharged from supervised
release .


                                                Respectfully submitted,




                                                David a
                                                U.S . Pro Lion Officer


                                       ORDER OF THE COURT

        Pursuant to the above repo rt, it is ordered that the defend ant is discharged from supervised
release an d that the proceedings in the case be terminated .

               Dated this   - (         day of August, 2006 .




                                                    ~s ~ -
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                                                                V2 ,

                                                Judge U .S . Distric Court
